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         SO ORDERED.

         SIGNED this 18 day of October, 2017.




                                                            James P. Smith
                                                  Chief United States Bankruptcy Judge




                                  UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF GEORGIA
IN RE:                                                       CHAPTER 13
Shuntae S Milligan
5394 Ocmilgee East Blvd.
Macon, GA 31217                                                              CASE NO. 17-51376-JPS
SS#     XXX-XX-7856



                      ORDER CONFIRMING PLAN AWARDING ATTORNEY FEES
       The debtor's plan having been transmitted to all creditors; and

       It having been determined, after hearing on notice, that the debtor's plan, or plan as amended, complies
with Chapter 13 of the Bankruptcy Code, 11 U.S.C. §1325, and with other applicable provisions of this title of the
United States Code as shown by Exhibit “A” attached hereto; and

       The Chapter 13 Trustee having recommended that the debtor's plan to be confirmed; it is

       ORDERED that the debtor's plan, or plan as amended, which plan is attached hereto as Exhibit “A” and
incorporated herein by reference, is confirmed, and the debtor is further ordered to comply with the terms of this
plan and to maintain in force all insurance required by any of his contractual agreements; and it is further

        ORDERED that an award of $3,250.00 is made to JAMES W. DAVIS as interim compensation in this
case pursuant to §331 of the Bankruptcy Code for the attorney services rendered in this case. The trustee is
directed to pay any unpaid balance as an administrative expense; and it is further

        ORDERED that all pending motions to dismiss filed by the Chapter 13 trustee are hereby withdrawn,
unless a separate order has been entered resolving the motion.
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                                       END OF DOCUMENT

Prepared by:

Camille Hope, Trustee
P.O. Box 954
Macon GA 31202
Telephone (478) 742-8706
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                                                           TRUSTEE'S REPORT


RE:                                                                                               Case No. 17-51376-JPS
Shuntae S Milligan
5394 Ocmilgee East Blvd.
Macon, GA 31217




1.    Debtor's Net Income:              2,465.67         Deb 1:     GEICO
      Spouse's Net Income:                  0.00         Deb 2:

      Debtor proposes to make payments into the plan as follows:

     Which Debtor     Payment Amt.       Frequency                       Start Date
      Debtor 1                162.00     BI-WEEKLY                           7/29/2017

      until the plan is completed

2.    From the payments so received, the trustee shall make disbursements as follows:

      (a) The trustee percentage fee as set by the United States Trustee .

      (b) The monthly payments will be made on the following long-term debts: (Payments which become due after the filing of the petition
      but before the month of the first payment designated here will be added to the pre-petition arrearage claim .)




      (c) Pre-confirmation adequate protection payments will be made to the following secured creditors and holders of executory contracts
          after the filing of a proof of claim by the creditor . These payments will be applied to reduce the principal of the claim .


                                                                                                               ADEQUATE PROTECTION
NAME OF CREDITOR                                                                                                 PAYMENT AMOUNT
Jefferson Capital Systems LLC                                                                                                  $65.00

      (d) The following claims are not subject to cram down because debts are secured by a purchase money security interest in a vehicle for
          which the debt was incurred within 910 days of filing the bankruptcy petition, or, if the collateral for the debt is any other thing of
          value, the debt was incurred within 1 year of filing: See § 1325(a)




      (e) After confirmation of the plan, the secured creditors with allowed claims will be paid as follows:

                                                AMOUNT                           INTEREST                                           MONTHLY
                                                                                   RATE
 NAME OF CREDITOR                                 DUE         VALUE                                 COLLATERAL                      PAYMENT
 Jefferson Capital Systems LLC                     19,340.00 $12,625.00           5.00      2007 Chevrolet Tahoe                      $265.00
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   (f) *Attorney fees ordered pursuant to 11 U.S.C. § 507(a)(2) of $3,250.00 to be paid as follows:

Pursuant to the Current Administrative Order on Attorney Fee Awards

   (g) After the above are paid, distributions will be made to cure arrearages and other secured debts whose claims are duly proven and
       allowed as follows:




   (h) The following collateral is surrendered to the creditor:




    (i) The following domestic support obligations will be paid over the life of the plan as follows: (These payments will be made
        simultaneously with payment of the secured debt to the extent funds are available and will include interest at the rate of %. (If
        this is left blank, no interest will be paid .)




   (j) The following unsecured claims are classified to be paid at 100%. These payments will be made simultaneously with payment of the
       secured debt:




   (k) All other 11 U.S.C. § 507 priority claims, unless already listed under 2 (g), will be paid in full over the life of the plan as funds
       become available in the order specified by law .




   (l) The debtor will be the disbursing agent on the following debts:




   (m) Special provisions (As stated on the plan or agreed to):
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    Upon discharge, all non-purchase money, non-possessory liens in, on, or against any and all property of the
    bankruptcy estate held by the following listed creditors shall be avoided pursuant to 11 U.S.C. Sec.522(f) to the
    extent that such lien impairs an exemption to which the debtor is entitled . Upon notice of discharge said creditors
    shall cancel said liens of record within (15) days of such notice.
    NAME OF LIENHOLDER


    For so long as this Chapter 13 bankruptcy case is pending, all cash portion of any GEICO bonuses payable to or
    received by Debtor(s) shall be paid into the Office of the Chapter 13 Trustee . The Trustee shall have the right to
    request that the Trustee's office receive any such bonuses directly from GEICO . Each cash bonus received by the
    Trustee shall be held by the Trustee until such time as the Debtor (s) and the Trustee come to an agreement
    regarding how much, if any, of each cash bonus shall be paid into the Chapter 13 Plan . Should the Debtor and the
    Trustee be unable to reach an agreement then the Debtor (s) or the Trustee may request a hearing for the Court to
    determine how much, if any, of each cash bonus shall be paid into the Chapter 13 plan .

    If any cash bonus is not directly paid to the Chapter 13 Trustee by GEICO and is instead paid directly to the
    Debtor(s), then the Debtor(s) must immediately pay into the Chapter 13 Trustee's Office the entire cash bonus
    amount received from GEICO.
    Any bonus paid directly into Debtor's (s) profit sharing, 401(k), retirement or other similar account (s) shall not be
    affected.

(n) Debtor will make payments that will meet all of the following parameters (these are not cumulative, debtor will pay the highest of
    the three)

      (i) Debtor will pay all of his disposable income as shown on Form B22C of $           to the non priority unsecured creditors in order to
          be eligible for a discharge.

      (ii) If the debtor filed a Chapter 7 case, the priority and other unsecured creditors would receive $     . Debtor will pay this amount
          to the priority and other unsecured creditors in order to be eligible for discharge in this case .

     (iii) The debtor will pay $ to the general unsecured creditors to be distributed prorata .



 (o) General unsecured creditors whose claims are duly proven and allowed will be paid (choose one only)
       (a) 0% dividend as long as this dividend exceeds the highest amount, if any, shown in paragraph (n)(i), (n)(ii) or (n)(iii), and the
          debtor pays in at least 36 monthly payments to be eligible for discharge .

      (b) the debtor will make payments for          months and anticipates a dividend of   , but will also exceed the highest amount shown
          in paragraph (n)(i), (n)(ii), or (n)(iii) above.


(p) Unless otherwise ordered by the court, all property of the estate, whether in the possession of the trustee or the debtor, remains
    property of the estate subject to the court's jurisdiction, notwithstanding § 1327 (b), except as otherwise provided in paragraph (m)
    above. Property of the estate not paid to the trustee shall remain in the possession of the debtor . All property in the possession and
    control of the debtor at the time of confirmation shall be insured by the debtor . The chapter 13 Trustee will not and is not required
    to insure such property and has no liability for injury to any person, damage or loss to any such property in possession and control of
    the debtor or other property affected by property in possession and control of the debtor .

(q) Notwithstanding the proposed treatment or classification of any claim in the plan confirmed in this case, all lien avoidance actions or
    litigation involving the validity of liens, or preference action will be reserved and can be pursued after confirmation of the plan .
    Successful lien avoidance or preference actions will be grounds for modification of the plan .
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If the debtor proposes to pay less than 100% to the unsecured creditors, the debtor will pay 36 monthly payments before
becoming eligible for a discharge. If the case has an applicable commitment period of 60 months, the debtor will pay a
minimum of 57 months unless another term is stated in special provisions before becoming eligible for a discharge .



EXHIBIT "A"                                                                    /s/ Camille Hope
                                                                         Office of the Chapter 13 Trustee
